            Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 1 of 8




                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS
_________________________
                                      )
JOHN DOE,                             )
                                      )
           Plaintiff         )                 CIVIL ACTION NO.: 3:16cv-30184-MAP
                                      )
v.                                    )
                                      )
WILLIAMS COLLEGE,                     )
                                      )
      Defendant.                      )
________________________)

         PLAINTIFF’S RESPONSE TO DEFENDANT’S OPPOSITION TO PLAINTIFF’S
             MOTION FOR LEAVE TO CONDUCT ADDITIONAL DEPOSITIONS

A. INTRODUCTION

           Plaintiff, John Doe1, by and through counsel, responds to Defendant’s Opposition to

Plaintiff’s Motion for Leave to Conduct Additional Depositions. (Doc. 105.) Plaintiff re-asserts and

re-alleges the statements in its Motion for Leave to Conduct Additional Depositions (Memorandum

Incorporated) as if stated herein. (Doc. 101.)

B. BACKGROUND

           Depositions of Kris Maloney and Danielle Gonzalez were necessary to explore apparent false

statements made by Meg Bossong in her affidavit. (Doc. 54.) These two administrators sat next to

Brian Marquis, one on each side of him, at the training he attended. (Doc. 58.) As the affidavits of

Marquis and Bossong contained diametrically opposed statements, Plaintiff required an exploration

of these percipient witnesses. Such depositions were hardly a waste.

           Regarding the deposition of President Adam Falk, Defendant expected Plaintiff to rely solely

on its representation that Falk had a very limited role in the adjudication of Plaintiff. As Falk was the

direct supervisor of the Deans involved in the underlying case at the College, Plaintiff was required


11
     Plaintiff refers to himself as “John Doe” throughout the pleadings.
         Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 2 of 8



to testify as to his supervision as it related to John and as customary. Plaintiff’s counsel maintained

that although Falk may have played a limited role, his deposition would involve important questions

of substance. [emphasis added] (Exhibit A.)

        The deposition of Falk addressed several important issues including [paraphrased herein]:

        1. Whether the highest authority that can act on behalf of the organization, the Board of
           Trustees, was informed of John’s case;

        2. Whether John’s case was the matter Dean Bolton stated was the matter she described as
           “a very priority” that she discussed at a Board of Trustees meeting in Spring 2016;

        3. The extent to which Falk, to whom the Dean of the College reports, supervised the
           Deans’ administration of John’s case; and

        4. Whether Falk has the position of highest authority that can act on behalf of the
           organization.

        As such subjects touch the heart of Plaintiff’s negligent supervision of employees claim and

are far from irrelevant as Defendant asserts, the deposition was far from a waste of time.

        During all correspondence regarding Plaintiff’s plan to conduct a Rule 30(b)(6) deposition up

until Plaintiff’s February 2018 request of Defendant to agree to exceed the limitation, Defendant’s

counsel did not disagree to the deposition in principle. In fact, On October 29, 2017, Defendant’s

counsel tacitly agreed, aside from disagreeing to go beyond the deposition number limitation, to the

idea of Plaintiff deposing a Rule 30(b)(6) witness for the College: “You have indeed identified 13

depositions here - assuming your as-yet-unidentified 30(b)(6) topics can be addressed by a single

witness.” (Id.)

        Further, this statement by Defendant’s counsel misrepresents the implication a Rule 30(b)(6)

deposition has on the number of depositions. No matter how many topics are included, and no matter

how many witnesses the defendant ends up designating, a single notice of deposition under Rule

30(b)(6) counts as one deposition. Fed. R. Civ. P. 30(a)(2)(A) advisory committee’s note to 1993

amendment. See also Quality Aero Tech., Inc., v. Telemetrie Elektronik, 212 F.R.D. 313, 318

(E.D.N.C. 2002) (noting that Rule 30(b)(6) depositions are counted as a single deposition, regardless
         Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 3 of 8



of the number of witnesses designated); Beaulieu v. Bd. of Trs. of the Univ. of W. Fla., No. 3:07cv30,

2007 U.S. Dist. LEXIS 92641 (N.D. Fla. Dec. 18, 2007).

C. ARGUMENT

1. LACK OF KNOWLEDGE BY PREVIOUSLY DEPOSED INDIVIDUALS MAKE A RULE
   30(B)(6) DEPOSITION NECESSARY.

        Plaintiff’s draft notice under Federal Rule of Civil Procedure 30(b)(6) (“Rule 30[b][6]”) lists

“[t]opics on which previously deposed individuals lacked knowledge (TO BE LISTED AT

COMPLETION OF ALL OTHER DEPONENTS)” and “Williams College’s collection of documents

in response to Plaintiff’s discovery requests” as subjects on which the organizational representative

may be questioned. In its argument that the draft proposed topics are irrelevant, Defendant

conveniently leaves out the fact that the draft Notice lists “Topics on which previously deposed

individuals lacked knowledge (TO BE LISTED AT COMPLETION OF ALL OTHER

DEPONENTS).” (Doc. 101-2.)

        Rule 30(b)(6) was adopted to curb the practice of “bandying” where organizations would

produce one deponent after another, each disclaiming knowledge of information that someone in the

organization almost certainly knew. Sigmund v. Starwood Urban Retail VI, LLC, 236 F.R.D. 43

(D.D.C. 2006) (internal quotations omitted). 1970 Advisory Committee Note. In other words, the

raison d’etre for Rule 30(b)(6) is to fill in the gaps.

        As evidenced in Attachment E to Plaintiff’s Motion for Leave to Conduct Additional

Depositions (Doc. 101-5), the transmission of the policies to investigator Allyson Kurker remains a

hotly contested subject between Plaintiff and Defendant. Defendant has not produced documents

containing the College policies sent to Kurker. The same applies to the “refresher training materials”

which Plaintiff had to repeatedly request and which, to this date, has not received the complete

documents. Bossong testified that she would have compiled training materials for the Hearing Panel

in this case “and then the policy definitions are appended to their printed materials, which I do not
         Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 4 of 8



compile.” The policy definitions that were appended, “attached” to Bossong’s materials according to

Bossong, have not been produced by Defendant. (Exhibit B.) Bossong changed the subject by

answering the question “Who appends them to the material?” with “Allyson Kurker includes them in

the cover page of her investigative report.” (Id.)

        Kurker could not provide information in response to questions regarding how she obtained

the policies applicable in this case from the College. She also could not answer the question, “Is it

correct that [she] would have had to have received written confirmation of the policies in effect

before October 2014 in order to write [the] footnote [in one of her draft reports which stated ‘The

policy has been effect [sic.] since October 2014. The policy in effect prior to October 2014 defined

sexual misconduct in substantially the same manner. The definition of non-consensual sexual

intercourse was ‘any sexual intercourse (anal, oral or vaginal); however slight; with any object; by

any person upon any other person; without effective consent.’ The current definition includes sexual

penetration by ‘any body part.’]? (Exhibit C and D.)

        Toya Camacho, at Plaintiff’s deposition of her on March 1, 2018, stated that she provided

Kurker with the College’s policies. (Exhibit E.) The parties have not yet received the transcript from

this deposition. The College has not produced these communications. The draft Rule 30(b)(6)

subject, “Williams College’s collection of documents in response to Plaintiff’s discovery requests”

addresses the absence of these communications from Defendant’s productions.

        Lastly, other questions remain unanswered, such as why the College allowed a retaliatory

counter-complaint against a student by an employee when law, regulation, and College policy does

not provide for Title IX adjudications of sexual misconduct complaints by staff against students.

(Doc. 76-3 at FN1, p. 33) Title IX protections for employees only involve terms of employment

claims against employers as outlined in Subpart E. (Exhibit F.) This issue also implicates inadequate

training and supervision of staff, to be discussed below.
               Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 5 of 8



2. DEFENDANT’S RESPONSES, OR LACK THEREOF, TO PLAINTIFF’S REQUESTS FOR
   PRODUCTION AND INTERROGATORIES ON THE ISSUE OF REVISIONS OF POLICIES
   RELEVANT TO NONCONSENSUAL SEX MAKE A RULE 30(B)(6) DEPOSITION
   NECESSARY.

           As evidenced in Attachment C to Plaintiff’s Motion for Leave to Conduct Additional

Depositions (Memorandum Incorporated) (Doc. 101-3), over the course of many months, Plaintiff

has been trying to elicit information relevant to Plaintiff’s claims in the Complaint2 as recited

therein.

           The requests for production at issue here include:

           •    Correspondence including, but not limited to, emails/internal memoranda, relating to
                revising the section of the 2013-2014 Student Code of Conduct that addresses non-
                consensual sex and defines consent; the 2014-2015 Student Code of Conduct’s definition
                of consent; the Statement on Sexual Assault and Other Sexual Misconduct effective
                October 2014; and the 2015-2016 Student Code of Conduct’s policy on Rape, Sexual
                Assault, and Sexual Misconduct;

           •    Minutes or notes of any meetings devoted, at least in part, to revising the section of the
                2013-2014 Student Code of Conduct that addresses non-consensual sex and defines
                consent; the 2014-2015 Student Code of Conduct’s definition of consent; the Statement
                on Sexual Assault and Other Sexual Misconduct effective October 2014; and the 2015-
                2016 Student Code of Conduct’s policy on Rape, Sexual Assault, and Sexual
                Misconduct;

           •    Guidelines, criteria, and/or training materials provided to and/or used by members of the
                Dean of the College’s Office, Title IX Coordinators, and Director of Sexual Assault
                Prevention and Response from January 1, 2010 to July 15, 2017 to evaluate whether
                reports of Student Code of Conduct (aka “Student Handbook”) violations meet the
                threshold for initiating a disciplinary process and/or constitute violations of the Code of
                Conduct.

The interrogatories at issue here include:

           •    Identify all persons – students, faculty, administrators, and/or consultants – who
                participated in revising the section of the 2013-2014 Student Code of Conduct that
                addresses non-consensual sex and defines consent; the 2014-2015 Student Code of
                Conduct’s definition of consent; the Statement on Sexual Assault and Other Sexual
                Misconduct effective October 2014; and the 2015-2016 Student Code of Conduct’s
                policy on Rape, Sexual Assault, and Sexual Misconduct.



2
    All references to “the Complaint” are to Plaintiff’s 3rd Amended Complaint. (Doc. 76.)
            Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 6 of 8



        •    Identify the dates of any meetings and/or correspondence devoted, at least in part, to
             making such revisions, and the persons who attended these meetings and/or participated
             in this correspondence. (Exhibit G.)

        Plaintiff believes that, given evidence of Bossong’s anti-male bias [“Most people who stalk

are male; Women more likely to be stalked by men” (Doc. 54-1 at 5); “hostile masculinity” in her

training materials (Exhibit H at 39 and 41); the use of eighteen (18) year old data stating

“intoxication provides an excuse for engaging in socially disapproved behaviors, especially for men”

(Id. at 56); the use of a video called “The Undetected Rapist,” an interview of “Frank”, who is an

aggregation of several interviews by a sexual assault “expert” whose materials are thirty-two years

out of date and is edited to make a point about serial predators not backed by research (Exhibit I) in

her trainings; her affinity for radical feminist bell hooks (Exhibit J); her deposition testimony

asserting facts not supported at all in the written record that wrongly depict John as an abuser and

Smith as a victim (Exhibit K), etc.] combined with her role in drafting College sexual misconduct

policy, production of the requested documents may reveal admissible evidence substantiating John’s

claims gender-based discrimination.

        As Defendant has not produced these documents, if they indeed exist, and as Plaintiff has

delayed its planned Motion to Compel until it has conducted depositions of Hearing Panelists Steven

Klass and Aaron Gordon, Plaintiff intends for the Rule 30(b)(6) subjects to include the revisions of

the College policies relevant to sexual misconduct. Relevant questions will also include policy

supervision and maintenance. The questions on this subject shall be reasonably calculated to lead to

the discovery of admissible evidence relative to Plaintiff’s claim that that College erred by “failing to

maintain proper policies and procedures designed to fairly, reasonably, and adequately adjudicate

claims of sexual misconduct without bias or favor” (Complaint at ¶ 259[f]) and relative to the above-

mentioned gender bias more generally.
         Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 7 of 8



3. IMPROPER TRAINING, SUPERVISION, ADVISING, AND PROVISION OF TECHNICAL
   ASSISTANCE TO THE HEARING PANEL AND DEAN IN THIS CASE MAKE A RULE
   30(B)(6) DEPOSITION NECESSARY.

        Plaintiff’s draft Rule 30(b)(6) subjects, “[o]rganizational structure of Williams College” and

“Williams College’s policies on and practice of hiring, training, and supervising employees,” address

organizational level failures that led to the improper training, supervision, advising, and provision of

technical assistance to the Hearing Panel and Dean in the underlying case. Related questions will

include why Bossong, the partial advisor to Susan Smith, the counter complainant College employee,

played an integral role to the adjudication process.

        The questions on this subject shall be reasonably calculated to lead to the discovery of

admissible evidence relative to Plaintiff’s claim that that College erred by, “failing to hire well-

trained agents and employees;” “failing to train its employees, agents or representatives in the proper

method to thoroughly investigate and adjudicate, without bias, complaints of sexual misconduct;”

and “failing to supervise its employees, agents, or representatives to ensure complaints of sexual

misconduct are adequately investigated and fairly adjudicated.” (Complaint at ¶ 259[a], [b], [e].)

        WHEREAS, this Court should enter an order granting Plaintiff leave to take twelve (12) total,

i.e. two additional, depositions.

                                                 Respectfully submitted,

Date: March 11, 2018                             JOHN DOE
                                                 PLAINTIFF


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        Case 3:16-cv-30184-MAP Document 107 Filed 03/11/18 Page 8 of 8



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                                 CERTIFICATE OF SERVICE

      This document was served electronically upon all counsel of record by filing through the
ECF system on March 11, 2018.
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